






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00433-CR






Stephen Mark Hurley, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 167TH JUDICIAL DISTRICT

NO. D-1-DC-05-206188, HONORABLE MICHAEL LYNCH, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant Stephen Mark Hurley appeals his judgment of conviction for felony driving
while intoxicated enhanced by a prior conviction for possession of a controlled substance.  Following
his waiver of trial by jury, appellant entered pleas of "guilty" and "true."  The trial court assessed
punishment at five years' imprisonment.


POINT OF ERROR

		In his sole point of error, appellant advances the contention that the "trial court erred
in denying the motion to suppress because there was a detention not a mere encounter."  Actually,
there were two motions to suppress, one to suppress statements made to the arresting officer, and
another to suppress evidence resulting from an illegal detention, search and seizure.  Both were
overruled by the trial court at a pretrial hearing. (1)


BACKGROUND

		The only court reporter's record (statement of facts) before this court is the pretrial
hearing on the motions to suppress.  See Tex. Code Crim. Proc. Ann. art. 28.01(6) (West 2006).  The
only witness to testify at the hearing was the arresting officer, John Paul Clauch, a former trooper
with the Texas Department of Public Safety ("DPS").

		Officer Clauch testified that on November 30, 2005, he was patrolling on State
Highway 71 in Travis County.  His general duty was traffic law enforcement.  At about 3:10 p.m.
that afternoon, Officer Clauch observed a Ford Taurus parked on the side of State Highway 71,
partially on the paved or improved shoulder and partially on the unimproved shoulder of dirt and
gravel.  Officer Clauch explained that he stopped his patrol vehicle behind the Ford Taurus.  He
stated that he acted in accordance with the DPS's motor assist policy; requiring an officer in a
marked police vehicle, who observes a motor vehicle on the side of the road, whether the vehicle was
occupied or not, "to stop and check by and make sure everything was okay." (2)  He felt the policy was
based on "common sense and good judgment."

		Officer Clauch related that when he stopped his patrol vehicle, its rear flashing
lights,&nbsp;camera, and "mike" came on automatically.  The rear lights are not visible from the front of
the&nbsp;vehicle.  Officer Clauch stated that the automatic activation of the flashing rear lights was for
safety. (3)  There was heavy motor vehicle traffic on State Highway 71 at that time of the afternoon. 
As Officer Clauch approached the parked Taurus vehicle, he heard the engine running and saw one
individual in the car.  He did not observe any damage to the Taurus, flat tires, or other matters
interfering with the operation of the vehicle.  He saw no signs of distress.

		Officer Clauch testified that the Taurus was not illegally parked, nor did he see other
violations of the law when he stopped his vehicle to inquire if assistance was needed.

		Officer Clauch, on cross-examination, testified that he wanted to talk to the occupant
of the Taurus who was not free to drive away, but added:  ". . . I mean I needed to go up and
approach him and make sure everything was okay, if that is what your question is."  The officer then
made clear that the occupant was free to leave and would have been allowed to drive off.

		Officer Clauch testified that when he reached the Taurus, the occupant, whom
he&nbsp;identified as appellant, was "passed out" in the driver's seat with the engine still running.  The
doors were locked except the driver's door.  The officer tried unsuccessfully to talk to appellant,
asking, "Is everything all right?"  The officer tried twice to wake appellant before appellant awaken. 
Officer Clauch described appellant's physical appearance as "pretty droopy, heavy eyelids, red eyes"
and stated that appellant's movements were slow and uncoordinated.  An odor of alcohol emanated
from the Taurus.  Appellant was asked to get out of the car.  At this point, Officer Clauch stated that
he was trying to confirm that appellant was "okay," because appellant was not responding at all to
the&nbsp;officer's questions.  Upon exiting the Taurus, appellant's movements were unbalanced and
uncoordinated.  There was a urine stain on appellant's pants.

		After appellant began to answer some preliminary questions, Officer Clauch had
appellant attempt to perform some field sobriety tests.  The officer later told the trial court that
he&nbsp;decided to arrest appellant for driving while intoxicated because appellant told him that he
(appellant) had had a lot to drink.  There were open wine bottles in the back seat of the Taurus. 
Appellant's performance on the field sobriety tests was poor, and he had red eyes, slurred speech,
and an extremely strong odor of alcohol on his breath.

		When asked whether appellant answered any questions or made any statements to the
officer during the reading of the Miranda warnings, Officer Clauch replied, "No ma'am, he just told
me I love you and I'm sorry."

		At the conclusion of the pretrial hearing on December 4, 2006, the trial court took
the&nbsp;matter under advisement, asking the parties to provide additional legal authority.  On March 1,
2007, the trial court overruled the suppression motions.  No findings of fact or conclusions of law
were&nbsp;filed.

		In his sole point of error, appellant complains that the trial court erred in overruling
the motions to suppress evidence "because there was a detention and not a mere encounter." 
Apparently, appellant means that his detention was without a reasonable suspicion of involvement
in criminal activity.

STANDARD OF REVIEW

		Generally, we review a trial court's ruling on a motion to suppress evidence for an
abuse of discretion.  Dyar v. State, 125 S.W.3d 460, 462 (Tex. Crim. App. 2003).  We view a trial
court's ruling on a suppression motion under a bifurcated standard of review.  Carmouche v. State,
10 S.W.3d 323, 327 (Tex. Crim. App. 2000); Guzman v. State, 955 S.W.2d 85, 89 (Tex. Crim. App.
1997).  In our review, we do not engage in our own factual review.  Romero v. State, 800 S.W.2d
539, 543 (Tex. Crim. App. 1990).  The trial judge is the sole trier of fact and judge of the credibility
of the witnesses and the weight to be given their testimony.  State v. Ross, 32 S.W.3d 853, 855
(Tex.&nbsp;Crim. App. 2000); State v. Ballard, 987 S.W.2d 889, 891 (Tex. Crim. App. 1999).  Therefore,
we give almost total deference to the trial court's rulings on historical facts as well as application-of-law-to-fact questions that turn on an evaluation of credibility and demeanor.  Johnson v. State,
68&nbsp;S.W.3d 644, 652-53 (Tex. Crim. App. 2002).  When, however, the trial court rules on mixed
questions of law and fact that do not depend on the credibility and demeanor of witnesses, we review
its rulings de novo.  Id.  Questions of probable cause and reasonable suspicion are&nbsp;reviewed de novo. 
See Wiede v. State, 214 S.W.3d 17, 24-25 (Tex. Crim. App. 2007); Franks v. State, 241 S.W.3d 135,
140-41 (Tex. App.--Austin 2007, pet. ref'd).

		When, as here, the trial court does not enter findings of fact or conclusions of law,
we view the evidence in the light most favorable to the trial court's ruling and assume that the trial
court made implicit findings of fact that support its ruling so long as those findings are supported
by the record.  Wiede, 214 S.W.3d at 25; Ross, 32 S.W.3d at 855; Carmouche, 10 S.W.3d at 328. 
If the ruling on the suppression motion is reasonably supported by the record and is correct under
any theory of the law applicable to the case, the ruling will be upheld.  State v. Steelman, 93 S.W.3d
102, 107 (Tex. Crim. App. 2002); Romero, 800 S.W.2d at 543; Franks, 241 S.W.3d at 141.

		The real suppression issue here is the initial contact between Officer Clauch and
appellant.  The question of whether a given set of historical facts amount to a consensual police-citizen encounter or a detention [and seizure] under the Fourth Amendment is subject to de novo
review because that is an issue of law--the application of legal principles to a specific set of facts. 
State v. Garcia-Cantu, Nos. PD-0936-07 &amp; PD-0937-07, 2008 Tex. Crim. App. LEXIS 581 at *11
(Tex.&nbsp;Crim. App. May 7, 2008).


THREE CATEGORIES OF INTERACTIONS

		Both the Fourth Amendment to the United States Constitution and article I, section
9 of the Texas Constitution protect individuals from unreasonable searches and seizures.  See
U.S.&nbsp;Const. amend. IV; Tex. Const. art. 1, § 9.  Appellant here makes no claim that the Texas
constitutional provision affords him greater protection than its federal constitutional counterpart. 
Therefore, we treat them jointly as providing the same protection.  See Johnson v. State, 912 S.W.2d
227, 233-34 (Tex. Crim. App. 1995).

		The Texas Court of Criminal Appeals has recognized the following three categories
of interactions between police officers and citizens:  (1) encounters, (2) investigative detentions,
and&nbsp;(3) arrests.  State v. Perez, 85 S.W.3d 817, 819 (Tex. Crim. App. 2002); Francis v. State,
922&nbsp;S.W.2d 176, 178 (Tex. Crim. App. 1996); State v. Bryant, 161 S.W.3d 758, 761
(Tex.&nbsp;App.--Fort Worth 2005, no pet.).

		For an arrest to be justified under the Fourth Amendment, it must be accompanied
by probable cause to believe that a person has engaged in or is engaging in criminal activity.  See
Henry v. United States, 361 U.S. 98, 102 (1959).  A person is arrested when his liberty of movement
is restricted or restrained by an officer or by a person executing a warrant of arrest or arresting
without a warrant.  Tex. Code Crim. Proc. Ann. art. 15.22 (West 2005); Medford v. State, 13 S.W.3d
769, 772-73 (Tex. Crim. App. 2000).  The constitution is invoked only when the "encounter" rises
to the&nbsp;level of the seizure of a person.  McCraw v. State, 117 S.W.3d 47, 51 (Tex. App.--Fort Worth
2003, pet. ref'd).  Both arrests and temporary investigative detentions involve seizures without a
bright-line distinction between them.  Josey v. State, 981 S.W.2d 831, 839 (Tex. App.--Houston
[14th&nbsp;Dist.] 1998, pet. ref'd).  Sometimes the distinction is a matter of degree and involves different
factors.  McCraw, 117 S.W.3d at 52.

		A detention may be justified on circumstances less than probable cause.  Garza
v.&nbsp;State, 771 S.W.2d 549, 558 (Tex. Crim. App. 1989); Bryant, 161 S.W.3d at 760.  A stop is
deemed an investigative detention when a law enforcement officer detains a person reasonably
suspected of criminal activity to determine the person's identity or to momentarily maintain the
status quo to garner more information.  See Hoag v. State, 728 S.W.2d 375, 380 (Tex. Crim. App.
1987).  A temporary detention is justified when the detaining officer has specific, articulable facts
which, taken together with rational inferences from other facts, lead him to conclude the person
detained is, has been, or&nbsp;soon will be engaged in criminal activity.  Terry v. Ohio, 392 U.S. 1, 21-22
(1968); Ford v. State, 158 S.W.3d 488, 492 (Tex. Crim. App. 2005); Woods v. State, 956 S.W.2d
33, 38 (Tex. Crim. App. 1997).  The facts must amount to more than a mere hunch or suspicion. 
Davis v.&nbsp;State, 947 S.W.2d 240, 244 (Tex. Crim. App. 1997).  An investigative detention occurs
when an&nbsp;individual is confronted by a police officer, yields to the officer's display of authority and
is temporarily detained for the purpose of investigation.  Johnson, 912 S.W.2d at 235.  Whether
reasonable suspicion exists is determined by considering the facts known to the officer at the time
of the detention.  Terry, 392 U.S. at 21-22; Franks, 241 S.W.3d at 141.  A reasonable suspicion
determination is made by considering the totality of the circumstances.  Ford, 158 S.W.3d at 492-93. 
An investigative detention must last no longer than necessary to effectuate the purpose of the stop
and must involve actual investigation.  Akins v. State, 202 S.W.3d 879, 885 (Tex.&nbsp;App.Fort Worth
2006, pet. ref'd).

		Detentions are distinct from encounters.  Encounters are consensual interactions
between citizens and police that do not require reasonable suspicion and do not implicate
constitutional rights.  See Florida v. Royer, 460 U.S. 491, 497-98 (1983); Franks, 241 S.W.3d
at&nbsp;141.  An encounters occurs when a police officer approaches an individual in a public place to
ask&nbsp;questions, request identification or request consent to search as long as the interaction is
consensual--that is, as long as the officer does not convey a message that compliance with
the&nbsp;officer's request is required.  Florida v. Bostick, 501 U.S. 429, 434-35 (1991).  Encounters do
not&nbsp;require any justification on the part of an officer.  Harper v. State, 217&nbsp;S.W.3d 672, 674
(Tex.&nbsp;App.--Amarillo 2007, no pet.).  Encounters are consensual if a "reasonable person would feel
free to disregard the police and go about his business."  California v. Hodari D., 499 U.S. 621, 628
(1991); see also Hunter v. State, 955 S.W.2d 102, 104 (Tex. Crim. App. 1997) (an encounter is a
consensual interaction which the citizen is free to terminate at any time).  Therefore, an encounter
is not considered a seizure for Fourth Amendment purposes and does&nbsp;not warrant constitutional
analysis.  Hunter, 955 S.W.2d at 104; McCraw v. State, 117 S.W.3d at 51.  "[E]ncounters between
citizens and police officers are incredibly rich in diversity."  Garcia-Cantu, 2008 Tex. Crim. App.
LEXIS 581 at *12 (quoting Terry, 392 U.S. at 13).

		In State v. Bryant, 161 S.W.3d at 762, it was held that a police officer was not
required to have reasonable suspicion that a defendant was&nbsp;engaged in criminal activity to approach
the defendant's car and knock on the window.  The interaction did not become an investigative
detention until after the defendant opened his car door&nbsp;and the officer smelled the odor of alcohol. 
In Merideth v. State, a police officer approached a parked truck in which Merideth and his female
companion were sitting.  603 S.W.2d 872, 873 (Tex. Crim. App. 1980).  Unable to see through the
rear window, the officer went to the driver's door and knocked on the window.  Id.  When Merideth
opened the door, the officer smelled marihuana smoke and saw a hand-rolled cigarette butt in the
ashtray.  Id. It was held that the interaction did not become an investigative detention until the officer
discovered the marihuana.  Id.

		In Perez, 85 S.W.3d at 818, a police officer received a theft report from the
dispatcher, drove north until he spotted Perez, and slowed his police vehicle to determine if Perez
matched the suspect's description as given.  When Perez observed the officer looking at him, he ran
into a nearby apartment.  The officer knocked on the apartment door, Perez answered, and the officer
smelled the odor of marihuana.  The Court of Criminal Appeals held that until that point, the
interaction was a consensual encounter, not an investigative detention.  Id. at 819; see also State
v.&nbsp;Carranza, 162 S.W.3d 407, 409 (Tex. App.Beaumont 2005, pet. ref'd) (officer not required to
have reasonable suspicion to knock on a hotel door).

		In Garcia-Cantu, 2008 Tex. Crim. App. LEXIS 581 at *15-16, the court stated:


Police officers are as free as any other citizen to knock on someone's door and ask
to talk with them, to approach citizens on the street or in their cars and to ask for
information or their cooperation.  Police officers may be as aggressive as the pushy
Fuller-brush man at the front door, the insistent panhandler on the street, or the
grimacing street-corner car-window squeegee man.  All of these social interactions
may involve embarrassment and inconvenience, but they do not involve official
coercion.  It is only when the police officer "engages in conduct which a reasonable
man would view as threatening or offensive even if performed by another private
citizen," [that] such an encounter become[s] a seizure.  It is the display of official
authority and the implication that this authority cannot be ignored, avoided, or
terminated, that results in a Fourth Amendment seizure.  At bottom, the issue is
whether the surroundings and the words or actions of the officer and his associates
communicate the message of "We Who Must Be Obeyed."



(citations omitted).  In Garcia-Cantu, the Texas Court of Criminal Appeals discussed the&nbsp;distinction
between an encounter and an investigative detention.  Under the totality of the circumstances, the
court concluded that there was an investigative detention and a seizure rather than a mere encounter. 
Id. at *19-24.


CONCLUSION

		In the instant case, the evidence shows an encounter between the officer and appellant
which, as the facts developed, became a temporary investigative detention and later escalated into
an arrest of appellant based on probable cause.  The facts do not need to be reiterated.

		Viewing the totality of the circumstances in the light most favorable to the trial
court's ruling, we conclude that the trial court did not abuse its discretion in denying the motion to
suppress by finding that the initial contact between the officer and appellant was an encounter.  The
only issue before us was the legality of the initial contact.  The sole point of error is overruled.

		The judgment of conviction is affirmed.



						                                                                                    

						John F. Onion, Jr., Justice

Before Justices Pemberton, Waldrop and Onion*

Affirmed

Filed:   June 26, 2008

Do Not Publish










*  Before John F. Onion, Jr., Presiding Judge (retired), Texas Court of Criminal Appeals, sitting by
assignment.  See Tex. Gov't Code Ann. § 74.003(b) (West 2005).
1.   Appellant in his sole point of error has not addressed or briefed the admissibility of various
statements made by appellant to Officer John Paul Clauch.  See Tex. R. App. P. 38.1(h).  Therefore,
nothing is presented on appeal as a result of the trial court's ruling on these statements.
2.   Officer Clauch related that the motor assist policy was in some respects discretionary with
the officer.  It did not apply on all occasions.
3.   Officer Clauch stated that the rear flashing lights are "to alert anybody coming up behind
me that I am on the side of the road outside the vehicle."


